                      Case 4:13-cr-00191-JRH-CLR Document 62 Filed 06/08/15 Page 1 of 1
A0247(10!11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                                Page I of 2 (Page 2 Not for Public Disclosure)




                                                               UNITED STATES DISTRICT COURT                                           FILED
                                                                                     for the                                   U.S. DISTRICT COURT
                                                                                                                                  SAVANNAH DIV.
                                                      Southern District of Georgia - Savannah Division
                                                                                                                                         JUN -8 1015
                       United States of America                                        )
                                        V.
                                                                                                              01913        CLERK
                                  Joshua King
                                                                                          USM No: 18702-021
Date of Original Judgment:         June 23, 2014                                       ) W. Thomas Hudson
Date of Previous Amended Judgment: N/A                                                 ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


         Upon motion of        the defendant     the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.          LI
             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the Iastfudgmenl
             issued) of        months is reduced to


                                                    (Complete Parts land II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                           June 23, 2014,      shall remain in effect.
IT IS SO ORDERED.

Order Date:              C4Z1 'f                                                                              Judge's signaturaV


                                                                                           William T. Moore, Jr.
                                                                                           Judge, U.S. District Court
Effective Date: November 1, 2015                                                           Southern District of Georgia
                 (if different from order dale)                                                             Printed name and title
